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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO. 01-282

JOHNNY DAVIS                                          SECTION “R”


                              ORDER AND REASONS

     This matter is before the Court to determine whether a

certificate of appealability should be issued on petitioner

Johnny Davis’ habeas claims under 28 U.S.C. § 2253 and Federal

Rule of Appellate Procedure 22(b).        For the following reasons,

the Court DENIES the motion.



I.   PROCEDURAL BACKGROUND

     On October 12, 2001, a federal grand jury indicted Johnny

Davis and others for allegedly committing various federal crimes,

including conspiracy to distribute heroin, conspiracy to

distribute heroin using juveniles, and conspiracy to carry

firearms.   The grand jury also charged Davis with using a firearm

to further the drug trafficking conspiracy and, in doing so,
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murdering four people.       On September 5, 2002, the grand jury

returned a second superseding indictment for violations of the

Federal Gun Control Act and the Federal Controlled Substances

Act, charging Johnny Davis and others with conspiracy to

distribute heroin in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(A), all in violation of 21 U.S.C. § 846 (Count One);

conspiracy to distribute heroin using juveniles in violation of

21 U.S.C. §§ 841(a)(1) and 861(a)(1) (Count Two); and conspiracy

to carry firearms in furtherance of the conspiracy in violation

of 18 U.S.C. § 924(o) (Count Three).          Davis was also charged with

being a felon in possession of a firearm in violation of 18

U.S.C. § 922(g)(1) and 18 U.S.C. § 924(a)(2) (Counts Five, Seven,

Nine, and Eleven).    Lastly, Davis was charged with using a

firearm to further the alleged drug trafficking conspiracy in

violation of 18 U.S.C. § 924(c)(1) and, in doing so, causing the

deaths of four people in violation of 18 U.S.C. § 924(j) (Counts

Four, Six, Eight, and Ten).       Davis and others went to trial on

the charges set forth in the second superseding indictment.

     On May 14, 2003, a jury found Davis guilty of Counts One,

Two, Three, Six, Seven, Eight, Nine, Ten, and Eleven, but

acquitted him on Counts Four and Five.         On September 17, 2003,

the Court sentenced Davis to a term of life imprisonment as to

Counts One, Six, Eight, and Ten; to a term of 720 months

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imprisonment as to Count Two; to a term of 120 months

imprisonment as to Counts Seven, Nine, and Eleven; and to a term

of 240 months as to Count Three, all terms to run concurrently.

Davis then filed a timely notice of appeal.         On March 7, 2005,

the Fifth Circuit Court of Appeals affirmed petitioner’s

convictions. See United States v. Davis, 124 Fed. Appx. 838 (5th

Cir. 2005).   The Supreme Court denied Davis’ petition for writ of

certiorari on October 3, 2005. See Davis v. United States, 126 S.

Ct. 129 (2005).

     Petitioner filed his federal habeas corpus petition on

September 18, 2006.    In his petition, he claimed that: (1)

appellate counsel was ineffective for failing to raise an

argument based on United States v. Booker, 543 U.S. 220 (2005),

in a petition for rehearing en banc or petition for writ of

certiorari; (2) trial counsel failed to present essential

witnesses in Davis’ defense; (3) trial counsel failed to object

to several errors; (4) appellate counsel “failed to raise

claims”; (5) certain wiretaps violated Davis’ constitutional

rights; and (6) trial counsel failed to object to “several PSI

issues.”    (R. Doc. 965).   This Court denied the petition on July

30, 2007.   On August 20, 2007, petitioner filed a motion to

reconsider the denial of his habeas corpus petition, which the

Court denied on August 29, 2007.        Davis now moves for a

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certificate of appealability on these issues.



II.   DISCUSSION

      The Court may not issue a certificate of appealability here

because Davis has not made “a substantial showing of the denial

of a constitutional right.”        28 U.S.C. § 2253(c).         In Miller-El

v. Cockrell, the Supreme Court held that the “controlling

standard” for a certificate of appealability requires the

petitioner to show “that reasonable jurists could debate whether

(or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented [are]

‘adequate to deserve encouragement to proceed further.’”                537

U.S. 322, 336 (2003).

      Davis raises nothing new in this motion.           Having reviewed

its July 31, 2007 Order dismissing petitioner’s claims, the Court

concludes that the record does not establish that reasonable

jurists could debate the Court’s resolution of the issues.

Accordingly, the Court finds that a certificate of appealability

should not issue.



      New Orleans, Louisiana, this 27th
                                   ___ day of November, 2007.




                             SARAH S. VANCE
                      UNITED STATES DISTRICT JUDGE


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